                                                                    ORDERED ACCORDINGLY.


                                                                    Dated: December 11, 2011


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     2
                                                                    George B. Nielsen, Bankruptcy Judge
     3                                                              _________________________________

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         Mesa, Arizona 85201
     5   T: (480) 464-1111 F: (480) 464-5692
         Email: centraldocket@jacksonwhitelaw.com
     6   Attorneys for Debtor Royan, Inc.
         By:    Kelly G. Black
     7
                                  UNITED STATES BANKRUPTCY COURT
     8
                                            DISTRICT OF ARIZONA
     9
         In re:                                           No. 2:11-bk-19813-GBN
    10
         Royan, Inc.,                                     Proceedings under Chapter 11
    11
            Debtor.                                       Order and Judgment on Application for
    12                                                    Appointment Nunc Pro Tunc and on
                                                          Application for Interim Payment and
    13                                                    Compensation of Attorney Fees and Costs
                                                          (First Application)
    14
                                                          Assigned to: Honorable George B. Nielsen, Jr.
    15
                  Jackson White, P.C., a professional corporation (hereinafter “Applicant”), counsel for
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         Debtor Royan, Inc., (hereinafter “Debtor-in-Possession”), having filed its Application for
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         Interim Payment and Compensation of Attorney Fees and Costs and for Order and Judgment
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         Thereon (First Application) (Doc 31); no party having timely objected to same; and for good
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         cause shown:
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                  IT IS THEREFORE ORDERED granting Applicant’s request for appointment nunc
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         pro tunc and granting Applicant’s First Application as follows:
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                  A.     Allowing and approving Applicant’s fees for the Application Period totaling
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         $7,178.50, which will be paid in part from any pre-petition retainer currently held in
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         Applicant’s trust account and the remainder by Debtor;
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                  B.     Allowing and approving reimbursement to Applicant of $1,108.77 in actual and
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         necessary expenses, which Applicant has incurred and paid during the Application Period in
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     1   connection with the rendering of such professional services, for a total award of $8,287.27;

     2   and

     3               C.   For a Judgment against Debtor Royan, Inc. for a total award in the sum of

     4   $8,287.27.

     5               SIGNED AND DATED ABOVE.
         25782-001
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